                                                     Case 4:19-cv-00717-JST Document 229 Filed 09/30/21 Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                         TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                              Please use one form per court reporter.                                                             DUE DATE:
            CAND 435                                                                            CJA counsel please use Form CJA24
             (CAND Rev. 08/2018)
                                                                                               Please read instructions on next page.

1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                               3. CONTACT EMAIL ADDRESS
Kelsie Jones                                                                    310-883-6554                                                           ktjones@cooley.com

1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                              3. ATTORNEY EMAIL ADDRESS
Maximilian Sladek De La Cal                                                     310-883-6527                                                           msladekdelacal@cooley.com

4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                               5. CASE NAME                                                                              6. CASE NUMBER
Cooley LLP                                                                                              IN RE CALIFORNIA BAIL BOND                                                                19-cv-00717-JST
101 California Street, 5th Floor                                                                        ANTITRUST LITIGATION
San Francisco, CA 94111
                                                                                                       8. THIS TRANSCRIPT ORDER IS FOR:

                                                                                                           APPEAL             CRIMINAL            In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                           NON-APPEAL         CIVIL          CJA: Do not use this form; use Form CJA24.
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)→                                 FTR



9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                         b.    SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                          c.    DELIVERY TYPE (Choose one per line)
                                                                                               with purchase of PDF, text, paper or condensed.)

                                                              PORTION
                     JUDGE              TYPE                                              PDF       TEXT/ASCII             CONDENSED ECF ACCESS ORDINARY                   EXPEDITED                 DAILY      HOURLY
      DATE                                       If requesting less than full hearing,                            PAPER                          (30-day)
                                                                                                                                                                 14-Day
                                                                                                                                                                             (7-day)
                                                                                                                                                                                        3-DAY
                                                                                                                                                                                                   (Next day)    (2 hrs)
                                                                                                                                                                                                                           REALTIME
                      (initials)     (e.g. CMC) specify portion (e.g. witness or time)   (email)      (email)                (email)    (web)


9/30/2021 DMR                       DISC           Full




10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                         12. DATE
11. SIGNATURE                                                                                                                                                                9/30/2021
/s/ Maximilian Sladek De La Ca


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